Case 3:23-cr-00108-CHB-CHL                Document 58    Filed 10/24/24      Page 1 of 11 PageID #:
                                                 184

                                                                                     FILED
                                                                                JAMES J. VILT, JR. - CLERK

                              UNITED STATES DISTRICT COURT                              OCT 2 4 2024
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE                               U.S. DISTRICT COURT
                                                                                 WEST'N. DIST. KENTUCKY
 UNITED STATES OF AMERICA                                                               PLAINTIFF


 V.                                                             CRIMINAL NO. 3:23CR108-CHB


 CRISTHIAN JOSUE QUIJADA ZELAYA                                                      DEFENDANT


                                          PLEA AGREEMENT

        Pursuant to Rule 1l (c)(l)(B) of the Federal Rules of Criminal Procedure, the United States

 of America, by Michael A. Bennett, United States Attorney for the Western District of Kentucky,

 and defendant, Cristhian Josue Quijada Zelaya, and his attorney, John R. Wilson, have agreed

 upon the following:

         1.     Defendant acknowledges that he has been charged in the Superseding Indictment

 in this case with violations of Title 18, United States Code, Sections 922(u), 924(i), and 2.

        2.      Defendant has read the charges against him contained in the Superseding

 Indictment, and those charges have been fully explained to him by his attorney. Defendant fully

 understands the nature and elements of the crimes with which he has been charged.

        3.      Defendant will enter a voluntary plea of guilty to Counts 2 and 3 in this case.

 Defendant will plead guilty because he is in fact guilty of the charges. The parties agree to the

 following factual basis for this plea:

                On August 7, 2023 and August 16, 2023, Everything Concealed Carry, a Federal
        Firearm Licensee (FFL), located at 10306 Taylorsville Road, Jeffersontown, Kentucky
        40299 was burglarized. During the burglaries, 31 firearms were taken each time, which
        were part of the business inventory of this FFL. All 62 firearms taken had been shipped
        or transported in interstate or foreign commerce. On August 25, 2023, there was an
        attempted burglary of Everything Concealed Carry, but the suspects were apprehended by
        Jeffersontown Police Depaiiment before the individuals could enter the business. During
Case 3:23-cr-00108-CHB-CHL           Document 58        Filed 10/24/24      Page 2 of 11 PageID #:
                                            185




        an interview, the Defendant admitted to taking pait in the burglaries of Everything
        Concealed Carry on both August 7, 2023 and August 16, 2023, and the attempted burglary
        on August 25, 2023.


        4.      Defendant understands that the charges to which he will plead guilty cany a

 maximum term of imprisonment of 10 years, a~ om:bin'ettmaximum fine of $250,000, and up to a

 three-year term of supervised release. Defendant understands that an additional te1m of

 imprisonment may be ordered if the te1ms of the supervised release are violated, as explained in

 18 U.S.C. § 3583.

        5.      Defendant recognizes that pleading guilty may have consequences with respect to

 his immigration status ifhe is not a citizen of the United States. Under federal law, a broad range

 of crimes are removable offenses, which may include the offense to which Defendant is pleading

 guilty. In addition, ifhe is a naturalized citizen, Defendant acknowledges that certain convictions,

 which may include Defendant's conviction, may expose him to denaturalization under federal

 law. Because removal, denaturalization, and other immigration consequences are handled in

 separate proceedings, Defendant understands that no one, including his attorney or the U.S. District

 Court, can predict with certainty how his conviction may affect his immigration, naturalization, or

 citizenship status. Defendant agrees to plead guilty with a full understanding that this guilty plea

 may lead to adverse immigration consequences, including denaturalization and possible automatic

 removal from the United States.

        6.      Defendant understands that if a term of imprisonment of more than one year is

 imposed, the Sentencing Guidelines require a term of supervised release and that he will then be

 subject to certain conditions ofrelease. §§5D 1.1, 5D 1.2, 5D 1.3.




                                                  2
Case 3:23-cr-00108-CHB-CHL             Document 58        Filed 10/24/24      Page 3 of 11 PageID #:
                                              186




        7.        Defendant understands that by pleading guilty, he suuenders certain rights set forth

 below. Defendant's attorney has explained those rights to him and the consequences of his waiver

 of those rights, including the following:

                  A.     If defendant persists in a plea of not guilty to the charge[s] against

        him, he has the right to a public and speedy trial. The trial could either be a jury

        trial or a trial by the judge sitting without a jmy . If there is a jmy trial, the jury

        would have to agree unanimously before it could return a verdict of either guilty or

        not guilty. The jmy would be instructed that defendant is presumed innocent and

        that it could not convict him unless, after hearing all the evidence, it was persuaded

        of defendant's guilt beyond a reasonable doubt.

                  B.     At a trial, whether by a jmy or a judge, the United States would be

        required to present its witnesses and other evidence against defendant. Defendant

        would be able to confront those government witnesses and his attorney would be

         able to cross-examine them. In turn, defendant could present witnesses and other

         evidence on his own behalf. If the witnesses for defendant would not appear

         voluntarily, he could require their attendance through the subpoena power of the

         Court.

                  C.      At a trial, defendant would have a privilege against self-

         incrimination and he could decline to testify, without any inference of guilt being

         drawn from his refusal to testify. If defendant desired to do so, he could testify in

         his own behalf.

         8.       Defendant understands that the United States Attorney's Office has an obligation to

 fully apprise the District Court and the United States Probation Office of all facts pertinent to the



                                                    3
Case 3:23-cr-00108-CHB-CHL             Document 58         Filed 10/24/24       Page 4 of 11 PageID #:
                                              187




 sentencing process, and to respond to all legal or factual inquiries that might arise either before,

 during, or after sentencing. Defendant admits all acts and essential elements of the indictment

 counts to which he pleads guilty.

        9.        Defendant agrees that the amount of restitution ordered by the Court shall include

 Defendant' s total offense conduct, and is not limited to the counts of conviction. The parties agree

 and stipulate that Defendant shall pay restitution in the amount to be determined at the time of

 sentencing. The patties agree that the restitution shall be ordered due and payable on the date of

 sentencing. Defendant agrees that any payment schedule imposed by the Comt is without prejudice

 to the United States to take all actions available to it to collect the full amount of the restitution at

 any time. Restitution payments shall be made payable to the U.S. District Court Clerk at Gene

 Snyder Courthouse, 601 W. Broadway, Louisville, KY 40202. The restitution shall be paid to or

 on behalf of the following victim(s):

         Victim                                  Amount

         Everything Concealed Can-y              TBD

         Defendant agrees that not later than 45 days from entry of the Plea Agreement, Defendant

 shall provide to the United States, under penalty of pe1jury, a financial disclosure form listing all

 Defendant's assets/financial interests. Defendant authorizes the United States to rnn credit bureau

 reports prior to sentencing, and Defendant will sign releases authorizing the United States to obtain

 Defendant's financial records. Defendant understands that these assets and financial interests

 include all assets and financial interests in which Defendant has an interest, direct or indirect,

 whether held in Defendant's own name or in the name of another, in any property, real or personal.

 Defendant shall also identify all assets valued at more than $5,000 which have been transferred to

 third pmties since the date of the first offense, including the location of the assets and the identity



                                                     4
Case 3:23-cr-00108-CHB-CHL            Document 58         Filed 10/24/24      Page 5 of 11 PageID #:
                                             188




 of the third party(ies). Defendant agrees that the United States may share the contents of the reports

 and financial disclosures with the Court and U.S. Probation.

        Defendant agrees to submit to a deposition in aid of collection at times and places that the

 United States directs. If the Defendant has a financial advisor or accountant, Defendant agrees, at

 his expense, to make them available to aid the United States in determining Defendant's net

 worth. Defendant authorizes the United States to file notice of Lis Pendens prior to judgment on

 any real property Defendant owns either individually or jointly. Defendant agrees to his name and

 debt being added to the Treasury Offset Program.

         Upon execution of the Plea Agreement, Defendant agrees not to transfer, sell, or secrete

 any of Defendant's property, real or personal, held jointly, individually or by nominee/third party,

 valued at $5,000 or more without first advising the United States not less than 10 days before the

 proposed sale or transfer. Defendant agrees that failure to comply with any of the provisions of

 this Agreement constitutes a material breach of the Plea Agreement and Defendant agrees that the

 United States is relieved of its obligations under this Agreement and/or may not move the Comi

 pursuant to U.S.S.G. § 3El. l (b) to reduce the offense level by one additional level, and may in its

 discretion argue to the Court that the Defendant should not receive a two-level reduction for

 acceptance of responsibility pursuant to U.S.S.G. § 3El. l (a) However, the Defendant may not

 withdraw his guilty plea because of his breach. The defendant further understands that he may be

 responsible for a fine, costs of prosecution, costs of incarceration and supervision which may be

 required.

         10.     Defendant acknowledges liability for the special assessment mandated by 18

 U.S.C. § 3013 and will pay the assessment in the amount of $200 to the United States District

 Comt Clerk's Office by the date of sentencing.



                                                    5
Case 3:23-cr-00108-CHB-CHL                Document 58           Filed 10/24/24         Page 6 of 11 PageID #:
                                                 189




         11.      At the time of sentencing, the United States will

                  -recommend a sentence of imprisonment at the lowest end of the
                  applicable Guideline Range, but not less than any mandatory
                  minimum term of imprisonment required by law.

                  -recommend a fine at the lowest end of the applicable Guideline
                  Range, to be due and payable on the date of sentencing. t

                   -recommend a reduction of 3 levels below the otherwise applicable
                   Guideline for "acceptance of responsibility" as provided by
                   §3El .1 (a) and (b), provided the defendant does not engage in future
                   conduct which violates any federal or state law, violates a condition
                   of bond, constitutes obstruction of justice, or otherwise
                   demonstrates a lack of acceptance of responsibility. Should such
                   conduct occur and the United States, therefore, opposes the
                   reduction for acceptance, this plea agreement remains binding and
                   the defendant will not be allowed to withdraw his plea.

         12.       Both patties have independently reviewed the Sentencing Guidelines applicable in

 this case, and in their best judgment and belief, conclude as follows:

                   A.      The Applicable Offense Level should be determined by the United

         States Probation Office during the preparation of the Presentence Investigation

         Report.

                   B.      The Criminal History of defendant shall be determined upon

         completion of the presentence investigation, pursuant to Fed. R. Crim. P. 32(c).

         Both parties reserve the right to object to the USSG §4Al .1 calculation of

         defendant's criminal history. The patties agree to not seek a departure from the

         Criminal History Category pursuant to §4Al.3.

                   C.      The foregoing statements of applicability of sections of the

         Sentencing Guidelines and the statement of facts are not binding upon the Court.


 1 The defendant acknowledges that he has read the Notice and Penalty Pages attached to the Indictrnent/lnfonnation,

 and that he understands the interest and penalty provisions applicable to the fme imposed and included in the
 Judgment entered by the Court, said Notice and Penalty Pages are incorporated herein by reference.

                                                          6
Case 3:23-cr-00108-CHB-CHL             Document 58         Filed 10/24/24      Page 7 of 11 PageID #:
                                              190




        The defendant understands the Court will independently calculate the Guidelines

        at sentencing and defendant may not withdraw the plea of guilty solely because

        the Comt does not agree with either the statement of facts or Sentencing Guideline

        application.

                  13. Defendant agrees to the following waivers of appellate and post-conviction
        rights:

                  A. The Defendant is aware of his right to appeal his conviction and that 18 U.S.C.
                     § 3742 affords a defendant the right to appeal the sentence imposed. Unless
                     based on claims of ineffective assistance of counsel or prosecutorial
                     misconduct, the Defendant knowingly and voluntarily waives the right to
                     directly appeal his conviction and the resulting sentence pursuant to Fed. R.
                     App. P. 4(b) and 18 U.S.C. § 3742.

                  B. The Defendant is aware of his right to contest or collaterally attack his
                     conviction and the resulting sentence under 28 U.S.C. § 2255 or
                     otherwise. Unless based on claims of ineffective assistance of counsel or
                     prosecutorial misconduct, Defendant knowingly and voluntarily waives any
                     collateral attack argument; and

                  C. The defendant knowingly and voluntarily agrees to limit any motion for
                     compassionate release for extraordinary and compelling reasons, pursuant to 18
                     U.S.C. §3582(c)(l)(A)(i), that the defendant may file in the future to the
                     grounds listed in USSG §1B 1.13(b)(1 )-(5). The defendant knowingly and
                     voluntarily waives the option to move for compassionate release based on any
                     non-retroactive change in the law, including as provided for USSG
                     §1B 1.13(b)(6) ("Unusually Long Sentence").



        14.       Defendant waives and agrees to waive any rights under the Speedy Trial Act and

 understands and agrees that sentenoing may be delayed. The reason for such waiver is so that at

 sentencing the Court will have the benefit of all relevant information.

        15.       Defendant agrees not to pursue or initiate any civil claims or suits against the United

 States of America, its agencies or employees, whether or not presently known to defendant, arising

 out of the investigation or prosecution of the offenses covered by this Agreement.


                                                    7
Case 3:23-cr-00108-CHB-CHL            Document 58        Filed 10/24/24      Page 8 of 11 PageID #:
                                             191




        16.     The defendant hereby waives all rights, whether asserted directly or by a

 representative, to request or receive from any depaiiment or agency of the United States any

 records pertaining to the investigation or prosecution of this case, including without limitation any

 records that may be sought under the Freedom oflnformation Act, 5 U.S.C. § 552, or the Privacy

 Act of 1974, 5 U.S.C. § 552a.

         17.    Defendant agrees to interpose no objection to the United States transfening

 evidence or providing information concerning defendant and this offense, to other state and federal

 agencies or other organizations, including, but not limited to the Internal Revenue Service, other

 law enforcement agencies, and any licensing and regulatory bodies, or to the entry of an order

 under Fed. R. Crim. P. 6(e) authorizing transfer to the Examination Division of the Internal

 Revenue Service of defendant's docun1ents, or documents of third persons, in possession of the

 Grand Jmy, the United States Attorney, or the Criminal Investigation Division of the Internal

 Revenue Service. Defendant fmther agrees to the entry of an order under Fed. R. Crim. P. 6(e)

 authorizing the use of documents in possession of the Grand Jmy to be used during the defendant's

 deposition as contemplated in paragraph 9 of this Agreement.

         18.    Defendant agrees to forfeit and abandon any right to any and all evidence and

 property seized during the course ofthis investigation (including but not limited to any item subject

 to forfeiture), and waives any right to seek the retmn of any property pursuant to Fed. R. Crim. P.

 41 or otherwise. Defendant understands and agrees that items seized during the course of this

 investigation will be destroyed or otherwise disposed of by the seizing law enforcement agency.

         19.    The Defendant understands and agrees that, consistent with the provisions of 18

 U.S. C. § 3143, following the change of plea the defendant may be detained pending sentencing.




                                                   8
Case 3:23-cr-00108-CHB-CHL              Document 58     Filed 10/24/24       Page 9 of 11 PageID #:
                                               192




         20.     It is understood that pursuant to Fed. R. Crim. P. 1l(c)(l )(B), the recommendations

 of the United States are not binding on the Court. In other words, the Court is not bound by the

 sentencing recommendation and defendant will have no right to withdraw his guilty plea if the

 Comi decides not to accept the sentencing recommendation set fo1ih in this Agreement.

         21.     Defendant agrees that the disposition provided for within this Agreement is fair,

 taking into account all aggravating and mitigating factors. Defendant states that he has info1med

 the United States Attorney's Office and the Probation Officer, either directly or through his

 attorney, of all mitigating factors.

         22.     This document and the supplemental plea agreement state the complete and only

 Plea Agreements between the United States Attorney for the Western District of Kentucky and

 defendant in this case, and are binding only on the parties to this Agreement, supersedes all prior

 understandings, if any, whether written or oral, and cannot be modified other than in writing that

 are signed by all parties or on the record in Comi. No other promises or inducements have been

 or will be made to defendant in connection with this case, nor have any predictions or threats been

 made in connection with this plea.


 AGREED:

 MICHAEL A. BENNETT
 United States Attorney




 Al~iaP.Gme                                                           DatJ       '
 Assistant United States Attorney




                                                  9
Case 3:23-cr-00108-CHB-CHL           Document 58 Filed 10/24/24            Page 10 of 11 PageID #:
                                             193




          I have read this Agreement and carefully reviewed every part of it with my attorney. I
  fully understand it and I voluntarily agree to it.


       c.z
  Cristhian Josue Quijada Zelaya
  Defendant


         I am the defendant's counsel. I have carefully reviewed every part of this Agreement
  with the defendant. To my knowledge my client's decision to enter into this Agreement is an
  in£~od and vozary one.

  _{          ~        ~                                               /o:zf-2cJZ't
  Jo R. Wilson                                                               Date
  Counsel for Defendant


  MAB:APG
Case 3:23-cr-00108-CHB-CHL                                 Document 58 Filed 10/24/24                                              Page 11 of 11 PageID #:
                                                                   194




    l~Di:im SW~Depiutment ofJml:i,ct,                                                                             Fm!IIIll:W ilmctM1u1!i ::.i!llll'lDt'llt-lndiru:lulll
    1fui~ S~. _·\tt~:IJ»y° "o Ofiic,a                                                                                                                     P:a:i,1! o_fl-1



            Tue United States ofA.mei-ica. is authorized to mquire Jbout your fm:mci~ condition
            a:nd economic circl.llllitm.ces :m..d m.,y 'rai.fy ;:my mfoim..tion pi-ar,-ided :in d':ti:;
            f m.uci..,! Disdo-.mm S-ra~ent

             This ~tement is considei-ed :in-c:omplete unles:; }'OU illl£t·e (1) completed eaclh. section
             fully :m.d accm'3tel1T, mclud:ing those :sediofil applicab_e to yom .spo~ (if not relevant
             info:imation, enfeii ""}fot App.uca.ble" or <"NL4.') , (2) pJiO"i.--ided :ill sup:porti\·e
             d0<..~em.taticn myour custody, pos.session, ;:,mdconl:l1ol identified in Section 16 oftbi.s
             disclosure st:rte:me:nt., (3) CErti:fied th..,t the infornuti.on c-om.in.ed herein is 1:J.1.1 e and
             con-ect ,JS of the cb.te th..,t you submit this fcnn to the Umted St.rte.s Attomey 's Office
             as. set forth in the a.ittached Ce:i.tifica.:1:Mm, and (4) imt:i~ed the bottom of eJch pJge of
             this foim aclm.owledging th.at ilhe inforniafncn. you aie prm:idi.ng is cm1:ent, acc:m1a.te,
             and_ comp..ete a-.. of ili~ d..te th.at you are-sulbmirtmg it.

             I O :un     D:1m not (t.~lieck 01,e;) re:pre-;ented by coumel mthe ~oUedion. of thh
             debt If I :1m repl'e~eutec] br cowr;.el, [ nc-1.mo"!l"ledge haring redei.,·,e-c] the, ,
             foregoin-g in~t111c,tion-; l\ith m~- ~OUIL'iieE; ("y,'SJH i ~ :Jo S" \ JC,
            _______________________ viame, phont'1!llm~, tJJfJrLO-
                                                                                               O ..1 °'                                          ,J:°'-d~             Z e...{ '\(Cf


             :'.\"0TE: U additiou.1 ~ 'ip::1ce i-; neE<led! in completing a.n~· o:f the -;ections o:n rt hh '>mte1,11ent1
             ple:i:;e. m:11k.e ni copy of the r,el.ernot p:.1<g.e-(-;) aod :11ttach irt to tbh fo,l'm.




            Aui:lio.rity for 1h11 'o>Jli.ciwi<ur of thg r.,g1111r.t11di mfo=tfon. t:::Jd u.d;, c~ or ::acni ai th,;, :fo,Dc·;.ing: 5 rJ .S.C.. ~
            31)!, !101 (Si'<! ::fo:;,, Eu1r-:rtr.,;, Cm,;r6l6ti, frma a-0, E;•J 3); H IJ.G. C ~ SGl - 530.:\.:, ::!S U ..';.C. ij 1651, .3'2': tl-
            32r)6; 31 U.5. C. ~ 3i'OJ-3TI l; 44 U.G.C. ~ U Ol ; 31 C.: .R. P.ut 9';10 lilt-.~; :!S C.F .R. 9 0.160, O.l 71 md
            .~H,..a.~~ t11 Subpm i:\ u.~ 18: t LS.C. § 31564(;:l,)(3).

            Jb.,;, i;:ifaicipal p::apo,11 till' g~thm-.ins ih:. inf•:m:nti.c::i j_,. ta QT UWftll ~ '::ll' ahllli:,- f,:> p~• t1:i,;, 50,;ar.:i:m,;n.t' ~ d .!aim or
            j -.:d~111' ~gw1ynu..              ti'..t•':lD "LQ . of W info=tirm 11:HI .;-.t?.bJi .m,din 1h11 l!pp!:icab]; Pli\ .!i:Y Act [:.y . tmi.;, of
                                                                                                                                     0




            RQ>:c.rd-. Nauc,;,: JUSTICEiDOJ-00 l Accoo:Itqg S.y,=• for th,;,                                        o:i Iu., 6:o - 6~ F:'. 3 14{l-5;
                                                                                                [ 1 ,;i;-art1::..;:r.1




            Rl'STICE flJOJ-0]6 D11bt C.ou;e:!i<!ll E:nforcoc:.,;=.i Sy.NID - 77 ifR. 996~; Tti.JST.IC]/T_!lX-0•)1 Cr:'=m:lb r ~ C31'1 if.ii:,;;,
            :.J>Q-::i.!:l Pr,;,j v.t f:ilg,, :CIXl'.,;t C'r il-, ~d A;,;,.x a:;.d Racord!. - i'l Flt l l +;ii, 44 7; JU.: ,TICE.iU5A· OO'.i CM ! Cm1 :ii:.;-.
            - B F3. 166{; ;mdl rus:rrr.."".f,U_:,A-007 t'.ri'..mi:Dii Cm1 ifif,;~ - ~ fll lSIH. r:~.clo,m;. of m; info:n::r:.ti.o::i i~ ,·ob.1L1~ ·..
            ! f 1h11 c;,qu.g;f'4 infmnat:illl. : • .11_ct f.:n::tl_~md., 1h11 U~:..d Sttm: l!:l.!IY ,"'1: di:..:_a:urg tbJ-G~ 01»1: :.,:111:!ll,.


    ~ · N~poo.-..{:) on !hi!; p ~ ll!ll cmr..!lt. .-.c=l!a, m co:rq:n ~- d dmi frill:I rul::mit thi!. F"=i!3 i}i.;tla,-.u:r,;,
                                                                                   1h;,                                                         tho
                                                                                                                                              ! ; t r . ~ t ,; ,




    ~ Sm.-.A~::.m..f • ClffiN, tom p;,11altp:ip.rj:l:;. Drt'bt,ir'. ~ ·- -                                 I 1r.&'1WJ lllll<l::ar~::it.l:zn<nl - lr>:iWDI'.
                                                                                                                                                      Vcn:m· JU( :a_w;




                                                                                 11
